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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF GEORGIA
                               STATESBORO DIVISION

ALLISON S. PHILLIPS,                        )
                                            )
       Plaintiff,                           )
                                            )        Civil Action File No.:   6:16-cv-162-JRH-GRS
Vs.                                         )
                                            )
DAVID EMANUEL ACADEMY, INC.,                )
                                            )
       Defendant.                           )

COMPLAINT FOR RELIEF UNDER TITLE VII OF THE CIVIL RIGHTS ACT OF 1964

       COMES NOW Allison S. Phillips, “Ms. Phillips,” Plaintiff in the above-styled civil action,

and files this Complaint for Relief under Title VII of the Civil Rights Act of 1964 against

Defendant David Emanuel Academy, Inc., respectfully showing this Honorable Court the

following:

                                         I. PARTIES

                                                1.

       Plaintiff Allison Phillips (“Ms. Phillips”) is an African American female, who resides in

Emanuel County, Georgia. Ms. Phillips was employed by Defendant David Emanuel Academy,

Inc., as a physical education teacher, coach, and assistant athletic director from approximately

2007 until 2016.

                                                2.

       Defendant David Emanuel Academy, Inc. (“DEA”) is a private, pre-kindergarten through

twelfth grade, secular school located in Emanuel County, Georgia. Defendant DEA is engaged in

an industry affecting commerce and has fifteen or more employees for each working day in each

of twenty or more calendar weeks in the current or preceding calendar year. DEA can be served



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with process of this civil action by personally serving DEA’s registered agent, Martha Collins,

with a copy of the Complaint and Summons at 602 North 4th Street, Emanuel County, Stillmore,

GA, 30464.

                                       II. JURISDICTION

                                                  3.

       This action arises under Title VII of the Civil Rights Act of 1964, 42 U.S.C. §§ 2000e et

seq. Plaintiff specifically reserves the right to amend this Complaint with additional related federal

and state law claims.

                                                  4.

       Jurisdiction is invoked pursuant to 28 U.S.C. § 1343(4) and 42 U.S.C. § 2000e-5(f).

                                                  5.

       Plaintiff received two separate right-to-sue letters issued by the Equal Employment

Opportunity Commission (EEOC) within 90 days of the filing of this Complaint. True and accurate

copies of which are attached hereto as Exhibit 1, based upon a charge affidavit timely filed with

both the EEOC, a true and accurate copy of which is attached hereto as Exhibit 2.

                                                  6.

       Declaratory, injunctive, and equitable relief is sought pursuant to 28 U.S.C. §§ 2201, 2202

and 42 U.S.C. § 2000e-5(g).

                                                  7.

       Costs and attorney’s fees may be awarded pursuant to 42 U.S.C. § 2000e-5(k) and Fed R

Civ P 54.




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                                           III. VENUE

                                                 8.

       This action properly lies in the Southern District of Georgia, Statesboro Division, pursuant

to 29 U.S.C. § 1391(b), because the claim arose in this judicial district, and pursuant to 42 U.S.C.

§ 2000e-5(f)(3), because the unlawful employment practice was committed in this judicial district.

                              IV. PRELIMINARY STATEMENT

                                                 9.

       This action seeks declaratory, injunctive and equitable relief, compensatory and punitive

damages, and costs and attorney’s fees for the race discrimination suffered by Plaintiff in her

discharge by Defendant.

                                            V. FACTS

                                                 10.

       Petitioner Ms. Phillips has a Bachelor of Arts in General Studies from Brewton Parker

College and a Master of Arts in Christian Studies with an emphasis in Youth Ministry from Grand

Canyon University. Additionally, Ms. Phillips has an extensive background in coaching and

competitive athletics, due to her own personal experiences as a standout high school athlete who

received a full track athletic scholarship to Albany State University in 1985, and due to her

coaching experiences for middle school and high school athletic teams at Swainsboro High School

and David Emanuel Academy.

                                                11.

       Ms. Phillips was hired by Defendant DEA in 2007 and worked there until approximately

May 31, 2016. When she was hired in 2007, Ms. Phillips was told that she was the first African-




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American employee that DEA had ever hired. Upon information and belief, Ms. Phillips was the

only African-American employed by DEA when she was terminated in May 2016.

                                                  12.

        Mr. Emeriel (“Em”) C. Hubbard became the Head of School/Headmaster of DEA in

approximately 2013-2014, but announced in the fall of 2016 that he would be leaving DEA.

                                                  13.

        Hubbard is employed by Defendant DEA as Headmaster and is empowered to make final

decisions regarding the employment of physical education teachers, coaches, and assistant athletic

directors.

                   DISCRIMINATORY TREATMENT REGARDING PAY

                                                  14.

        While working for DEA, Ms. Phillips coached various middle school and high school

athletic teams, taught physical education classes to students, served as an assistant athletic director,

and, at times, even worked with special education students at the school, among various other

duties. Besides the sports that she coached herself, she worked all home baseball games and

football games, and she worked all home and away varsity and middle school softball games.

                                                  15.

        Ms. Phillips accompanied the DEA athletic teams that she coached to various meets and

games that were out of town, which required her to travel extensively on weeknights and

weekends. She was required to drive her own car, supply her own gas, and to pay for her own food

to get to and from the games and meets for teams she coached in addition to the away games that

she worked for teams that she didn’t coach, like softball.




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                                               16.

       In the Summer of 2014, Mr. Hubbard directed Ms. Phillips to have her girls’ basketball

team attend a camp in Americus, Georgia. Ms. Phillips was to receive a $25 stipend for each of

the 10 students she brought to the camp that would cover her expenses to travel and attend the

camp with her team. Mr. Hubbard told Ms. Phillips that she could not take her $250 stipend

because DEA needed the money. So, Ms. Phillips took the girls’ basketball team to the camp in

Americus and paid her own expenses.

                                               17.

       During the 2015-2016 school year, Ms. Phillips learned that she was the only DEA coach

who was not being paid to coach all of the teams that she had been assigned to coach. Specifically,

Ms. Phillips was not being paid to coach the middle school basketball team, middle school girls’

track team, or the C-Team and she was also not being paid to work any of the games/meets for the

teams that she didn’t coach. Additionally, she learned that the bus drivers and clock keepers for

her basketball team’s games were being paid between $8-$10 per hour for their time spent working

the same games and meets that she was working. These coaches, bus drivers, and clock-keepers

were on contract with DEA, just like she was, but they were being paid for their time spent working

after school and she was not.

                                               18.

       After learning that she was the only coach not being paid for her work with all of her teams,

and that everyone, including the bus drivers and clock-keepers were being paid for the time they

spent working after school with the various teams, she approached DEA’s Athletic Director, Clint

Inman, and asked to be paid and treated equally with everyone else who was similarly situated.




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                                                19.

       Ms. Phillips also brought her concerns about her compensation to a member of the Board

of Trustees for DEA, Kevin Griner, who she knew through her association with DEA. Griner said

he would look into it.

                                                20.

       Griner later told her that he had learned that the coaching positions for every varsity team

and every middle school team were paid positions, with the exception of track….the teams that

Ms. Phillips coached. He encouraged Ms. Phillips to come to the Board of Trustees meeting and

to let the Board know about her concerns.

                                                21.

       Ms. Phillips attended a Board meeting in spring 2016 to express her concerns and desire to

be paid and treated equally. Hubbard also attended this meeting. In discussing the pay disparity,

Hubbard stated that Ms. Phillips was hired to teach physical education classes, not to coach, and

that the teams she coached were not “revenue generators.”

                                                22.

       To the best of Ms. Phillips’s knowledge, no action to resolve her concerns was taken by

the Board at that meeting or in subsequent meetings.

                                                23.

       Shortly thereafter, on March 29, 2016, Mr. Hubbard sent Ms. Phillips a memo stating that

Inman had informed him of Ms. Phillips’s request to be paid for middle school track, and that

“[w]hile I consider working with this small group of student-athletes to be a reasonable expectation

for you to do under your defined job descriptions as a middle school physical education teacher,




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varsity track coach, and assistant athletic director, I will accept Mr. Inman’s recommendation for

a small additional stipend.” See Ex. 3- March 29, 2016 memo.

                                                24.

       Mr. Hubbard approved a $150 stipend and $.50 per mile reimbursement rate for mileage

for Ms. Phillips; however, she learned that this stipend amount was far less than what other coaches

were being paid.

                    RETALIATION/HOSTILE WORK ENVIRONMENT

                                                25.

       Mr. Hubbard also treated Ms. Phillips and the girls that she coached with contempt. In

January 2016, DEA’s girls’ basketball team played Memorial Day School in Stillmore. Ms.

Phillips was able to play all of the team’s member, not just the starters, and DEA still beat

Memorial by a 30- point margin. The next day, Mr. Hubbard told Ms. Phillips that she and her

team were disrespectful to Memorial by scoring so many points against them. He told her that he

had written an apology letter to Memorial Day School.

                                                26.

       About this time, Mr. Hubbard also began attending the girls’ basketball team’s practices

with his son, Oliver, a college student. They began sitting behind the girls while they practiced and

were openly laughing and whispering to each other, which made the girls on the team tell Ms.

Phillips that they felt uncomfortable with Mr. Hubbard and his son there. Ms. Phillips felt that

Hubbard and his son were trying to make her team of girls feel uncomfortable and openly question

why they were there in an effort to intimidate Ms. Phillips.




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                                                27.

       In February 2016, Ms. Phillips’s girls’ basketball team played Twiggs Academy in

Jeffersonville. Mr. Hubbard was present in the gym at the game. The game got intense and Twiggs

Academy fans became angry. A Twiggs fan leaned over the rail, made racial slurs, and then spit

tobacco on Ms. Phillips, her assistant, and the girls on the team.

                                                28.

       The referees stopped the game for approximately 10 minutes, while the Twiggs fan was

escorted outside, all the while he continued to make racial slurs and shouted that it was not an

accident, he had INTENDED to spit on Ms. Phillips and her team. One of the parents of a member

of DEA’s team became enraged and confronted the man. Ms. Phillips and the team were given

towels to clean themselves and the floor up with. Mr. Hubbard was present at the game, but did

nothing to assist Ms. Phillips. Later, Ms. Phillips told Clint Inman, but nothing was ever done by

DEA’s administration to support Ms. Phillips or the girls on the team.

                                                29.

       Ms. Phillips was humiliated in front of her all-white team of students because she felt that

the confrontation with the Twiggs Academy fan occurred due to her being African-American. Her

humiliation was compounded because her school principal did nothing to help her and her team,

even though he was present when the conduct occurred.

                                                30.

       She recalled that one month before, Hubbard had written a letter to Memorial Day school

apologizing because Ms. Phillips and her team had won the game by too many points, which he

considered “disrespectful.” However, when a fan from another school targeted Ms. Phillips with

racial epithets and spit tobacco onto her and her team in the middle of the game, for which he was



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present, Hubbard did nothing to help her or the girls on the team when the shameful incident

occurred or later. Not even writing a letter.

                                                31.

       Later that spring, Hubbard told Ms. Phillips that she could not attend a meeting for all

basketball coaches in their region. This was an annual meeting that took place each spring where

the coaches in the region would get together to nominate players for region. She had always

attended this meeting before. No reason was given for her not being able to attend.

                                                32.

       Instead, Hubbard told her to submit the names of the girls on her team that she wanted to

nominate for region to Clint Inman, DEA’s Athletic Director, because Inman was going to attend

in her place. Ms. Phillips complied with Hubbard’s request, but she was humiliated. Ms. Phillips

felt that Hubbard was embarrassed for an African-American to represent DEA. She also felt

intimidated by Hubbard, because she felt that he was letting her know that he could humiliate her

however he wanted in front of her colleagues and students, and if she wanted to keep her job, there

was nothing she could do and no one who would stop him. Not even the Board of Trustees.

                                                33.

       Hubbard began excessive observation of Ms. Phillips while teaching and coaching,

including staring at her through her door. Far from being a routine part of an employment-related

review, Ms. Phillips felt intimidated. Hubbard also began to denigrate her in front of her

colleagues, her students, and others.

                                                34.

       In April 2016, Ms. Phillips learned that other employees had been receiving their contracts

for the 2016-2017 school year. Ms. Phillips told the Athletic Director that she wanted to be paid



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to coach all of the teams that she had been coaching, just like all of the other coaches, or else she

would not continue to coach afterschool sports if she had to do so at her own expense.

                                                 35.

       Shortly thereafter, without any prior notice, Hubbard announced to DEA students and

parents during an athletic awards program that Ms. Phillips was stepping down as coach and that

his son, Oliver Hubbard, would be taking over her coaching duties.

                                                 36.

       Stunned, Ms. Phillips sent Hubbard an email on April 26, 2016, asking when she could

expect to receive her contract. See Ex. 4.

                                                 37.

       Later that same day, Ms. Phillips received a memo in her box that had been erroneously

dated April 25, 2016. The memo was from Hubbard and stated that enrollment numbers were down

for Pre-K 3 and Pre-K 4 classes for the next school year, and that since the majority of her duties

was to serve as a “teacher aide,” he could not offer her a contract for the 2016-2017 school year.

He told her that one other teacher aide who worked with that group had been advised that she could

not be ensured of employment for the next year. See Ex. 5- April 25, 2016 Memo.

                                                 38.

       Hubbard’s memo stated that if she wanted to be considered in the future for a job with DEA

that she needed to furnish him with a college transcript so that he could determine what, if

anything, she might be qualified to do at DEA.

                                                 39.

       Hubbard also told Ms. Phillips that the number of sports and physical education classes

that DEA offered would be reduced as well.



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                                                40.

       Ms. Phillips later learned that the other teacher aide Hubbard had mentioned kept her job

at DEA. Further, none of the sports or physical education classes were reduced. In fact, Hubbard’s

son, Oliver Hubbard, had taken Ms. Phillips’s place. See Ex. 6- Screenshot of DEA website.

                                                41.

       Hubbard’s statement that he needed to review her college transcript to see what else she

would be competent to do, if anything, was a ruse because he filled one of Ms. Phillips’s coaching

positions with his own son, and her remaining coaching positions were left unfilled.

                                                42.

       Indeed, on May 26, 2016, before the school year was even over, Hubbard sent an email to

students and their parents announcing that his son Oliver would be the new DEA Varsity Girls

Head Basketball Coach, which had been Ms. Phillips’s job. See Ex. 7. Upon information and belief,

Oliver Hubbard had not yet graduated from college or had graduated the same month he was

announced as the new DEA Varsity Girls Head Basketball Coach.

                                                43.

       Ms. Phillips timely filed a racial discrimination charge with the EEOC regarding the

disparate treatment she had received regarding how she was paid for her job duties compared to

DEA’s Caucasian employees. She later filed a second charge with the EEOC regarding retaliation

against her due to her race.

                                                44.

       The EEOC issued her two separate right to sue letters in late August 2016 and she is filing

this Complaint within 90 days of her receipt of said letters.




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                            COUNT 1- RACIAL DISCRIMINATION

                                                 45.

          Plaintiff herein realleges and reincorporates the allegations above-stated in her Complaint

as if said allegations had been set forth fully herein.

                                                 46.

          Plaintiff Allison Phillips is a member of a protected class as she is an African American

female.

                                                 47.

          Defendant DEA is an employer subject to Title VII of the Civil Rights Act of 1964, 42

U.S.C. §§ 2000e et seq.

                                                 48.

          Mr. Emeriel Hubbard is employed by Defendant DEA as Headmaster and is empowered

to make final decisions regarding the employment of physical education teachers, coaches, and

assistant athletic directors.

                                                 49.

          By and through Ms. Phillips’s supervisor, DEA Headmaster Hubbard, Defendant DEA

unlawfully discriminated against Ms. Phillips due to her race by discriminating against her with

respect to her compensation as a coach and assistant athletic director.

                                                 50.

          By and through Ms. Phillips’s supervisor, DEA Headmaster Hubbard, Defendant DEA

unlawfully discriminated against Ms. Phillips due to her race by discharging and/or constructively

discharging Ms. Phillips from employment due to her race.




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                                                 51.

          By and through Ms. Phillips’s supervisor, DEA Headmaster Hubbard, Defendant DEA

unlawfully discriminated against Ms. Phillips due to her race by discriminating against her with

respect to the terms and conditions of her employment through the creation of a hostile work

environment.

                                    COUNT 2- RETALIATION

                                                 52.

          Plaintiff herein realleges and reincorporates the allegations above-stated in her Complaint

as if said allegations had been set forth fully herein.

                                                 53.

          Plaintiff Allison Phillips is a member of a protected class as she is an African American

female.

                                                 54.

          Defendant DEA is an employer subject to Title VII of the Civil Rights Act of 1964, 42

U.S.C. §§ 2000e et seq.

                                                 55.

          Mr. Emeriel Hubbard is employed by Defendant DEA as Headmaster and is empowered

to make final decisions regarding the employment of physical education teachers, coaches, and

assistant athletic directors.

                                                 56.

          By and through Ms. Phillips’s supervisor, DEA Headmaster Hubbard, Defendant DEA

unlawfully retaliated against Ms. Phillips for filing a charge with the EEOC that she was being




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racially discriminated against by discharging and/or constructively discharging Ms. Phillips from

her employment with DEA due to her race.

                                                 57.

       By and through Ms. Phillips’s supervisor, DEA Headmaster Hubbard, Defendant DEA

unlawfully retaliated against Ms. Phillips for filing a charge with the EEOC regarding the racial

discrimination she was experiencing. DEA retaliated against Ms. Phillips by discriminating against

her through the creation of a hostile work environment.

                                COUNT 3- ATTORNEYS’ FEES

                                                 58.

       Plaintiff herein realleges and reincorporates the allegations above-stated in her Complaint

as if said allegations had been set forth fully herein.

                                                 59.

       As Plaintiff has outlined a claim for relief under Title VII, she is entitled to recover costs

and attorney’s fees, pursuant to 42 U.S.C. § 2000e-5(k) and Fed R Civ P 54.

       WHEREFORE, PLAINTIFF ALLISON S. PHILLIPS PRAYS:

       A.      That process issue and be served upon Defendant;

       B.      Declare the conduct engaged in by Defendant to be in violation of Plaintiff’s rights;

       C.      Enjoin Defendant from engaging in such conduct;

       D.      Restore Plaintiff to her rightful place as physical education teacher, assistant

               athletic director, and coach, or, in lieu of reinstatement, order front salary and

               benefits for the period remaining until normal retirement in excess of

               $1,000,000.00;




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       E.      Award Plaintiff equitable relief of back salary and fringe benefits up to the date of

               reinstatement and prejudgment interest for that entire period, or front salary and

               benefits accrual, in an amount to be determined at trial;

       F.      Award Plaintiff costs and attorney’s fees;

       G.      Order a trial by jury; and

       H.      Grant such other relief as it may deem just and proper.

       This 30th day of November, 2016.

                                      EDENFIELD, COX, BRUCE & CLASSENS, P.C.



                                      /s/ V. Sharon Edenfield
                                      V. SHARON EDENFIELD
                                      State Bar No. 141646

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